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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                                §
 DISPLAY TECHNOLOGIES, LLC                                      §
                                                                §
                                                                §
        Plaintiff,
                                                                §
                                                                §
        v.
                                                                §
                                                                § 2:17-cv-00192-JRG-RSP
 CANON U.S.A., INC.,                                            § (LEAD CASE)
 PANASONIC CORPORATION,                                         § 2:17-cv-00195-JRG-RSP

        Defendants.


                                            ORDER

       The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

pretrial issues (except venue) with the LEAD CASE, Cause No. 2:17-cv-0192. All parties are

instructed to file any future filings (except relating to venue) in the LEAD CASE. Individual cases

remain active for venue determinations and trial. The Court will enter one docket control order,

one protective order, and one discovery order that will govern the entire consolidated case.

       If a docket control order, protective order, discovery order, and/or appointment of mediator

has been entered in the lead case at the time new member cases are added to the consolidated

action, all parties are directed to meet and confer in order to determine whether amendments to

such documents are necessary. Any proposed amendments to the docket control order, protective

order, discovery order, or appointment of a mediator shall be filed within two weeks of this Order.

       The local rules’ page limitations for Markman briefs and other motions will apply to the

consolidated case. To further promote judicial economy and to conserve the parties’ resources,

the Court encourages the parties to file a notice with the Court in the event that there are other
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related cases currently pending on the Court’s docket that may also be appropriate for

consolidation with this case.

     The Clerk is instructed to add the consolidated defendants into the Lead Case and their

corresponding Lead and Local Counsel only. Additional counsel may file a Notice of Appearance

in the Lead Case if they wish to continue as counsel of record in the lead consolidated action.

Counsel who has appeared pro hac vice in any member case may file a Notice of Appearance in

the Lead Case without filing an additional application to appear pro hac vice in the Lead Case.

Counsel who have not appeared in a member case at the point when it is consolidated into the Lead

Case should file a Notice of Appearance only in the Lead Case, and such Notice should state the

relevant member case.

        So Ordered this
        Jun 29, 2017




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